(fase 4:10-cv-00342

CO09-262

Hurricane IKE
Force Majeure Impacts

Summary of Loss

 

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EXHIBIT

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Cameron LNG
 

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

1. Executive Summary

1.1. | Cameron LNG, LLC (“CLNG”) and Aker Kvaerner / IHI (“AKIIHI”) entered into
a Turnkey Agreement (the “Agreement”) on December 30, 2004. Under the
Agreement, AK|IHI was to provide engineering, procurement and construction
for a liquefied natural gas (“LNG”) regasification facility (the “Project”) that
would operate at a designed gas delivery rate of 1.5 billion standard cubic
feet/day (“bscf/d") at a location near Lake Charles, Louisiana (the “Site”).

1.2. On September 10, 2008, when it became clear that Hurricane Ike would have
an impact on the Site, AK|IH! shifted work priorities from regular scheduled
work to securing the Project and Site based on forecasts available at the
time. These activities included tying down all materials and equipment
subject to wind damage, securing Site cranes, and meeting with
subcontractors regarding hurricane preparedness. Upon completion of these
activities on September 10", AK/IHI evacuated the Site in accordance with a
Mandatory Evacuation Order.

1,3. At approximately 2 A.M. on September 13, 2008, Hurricane Ike made landfall
near Galveston, Texas, approximately 175 miles from the Site, with maximum
sustained winds of 110 mph and heavy rains consistent with a Category 2
hurricane. In addition, Hurricane Ike caused an extensive storm surge that
caused flooding over a wide area, including locations hundreds of miles from
Hurricane Ike's landfall and including the Project Site.

1.4. A road block placed by local government authorities prevented AK|IHI from
obtaining access to the Site until September 15, 2008. At that time, a limited
workforce was able to begin clean up and assess the impact of Hurricane Ike,
which had left three feet of brackish standing water on the Site.

1.5. On September 22, 2008, the Site was reopened after construction electrical
power and water had been restored.

1.6. The Project was directly impacted by Hurricane Ike due to: (1)the cost of
manpower and resources expended to secure the Site in anticipation of
Hurricane Ike; (2) the costs incurred to mitigate and remediate damage to
property due to inundation of brackish water from Hurricane Ike’s storm
surge; (3) the cost of manpower and resources expended to clean up the Site
and assess the damage caused by Hurricane Ike; (4) the costs incurred to
repair, replace or make good damaged property; (5) the additional costs for
craft labor's efforts to mitigate and remediate the damaged property and
complete the remaining project work; and (6) the additional costs caused by
the encumbrance of the Project’s construction schedule due to the additional
work.

1.7. Hurricane lke also impacted other construction projects in the area, such as

Exxon Mobil’s Golden Pass LNG terminal in Sabine Pass, Texas. The
Golden Pass project site was also inundated with brackish water from

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Hurricane |ke’s storm surge which resulted in serious damage to four LNG
storage tanks. The Golden Pass project, which was originally scheduled for
completion in mid-2009, is reportedly delayed for an unspecified period of
time [Appendix 1].

1.8. Hurricane lke also impacted operating LNG facilities in the area, such as
Cheniere Energy’s Sabine Pass LNG termina! in Cameron Parish, Louisiana.
The Sabine Pass LNG terminal experienced damage to cabling and cable
trays from the jetty platforms to the mooring sites and damage to a storage
tank [Appendix 2].

1.9. This Force Majeure Change Order includes costs included in the Change
Orders submitted or in process, for insurance purposes. AK|IHI has
previously submitted Change Orders to CLNG’s Builders All Risk (“BAR”)
insurers addressing some of the additional costs incurred by AK|IHI as a
result of the damage caused by Hurricane Ike, including:

e CQ08-221 - Hurricane ike September / October 08

* CQO08-231 — Hurricane ke November 08

¢ CO09-233 — Hurricane Ike December 08 — Misc. Freight and
Testing

CO09-234 — Hurricane |ke December 08 — Insulations Inc.

e C0QO09-235 — Hurricane Ike December 08 — AIC

e CQO09-236 ~— Hurricane Ike December 08 — IHI costs

e CO09-237 — Hurricane Ike December 08 — AIC CM JV costs

e¢ CO09-238 — Hurricane Ike December 08 - ASUS] costs

e CO09-239 — Hurricane Ike December 09 — AK Bowen and Moody
Int'l Costs

e CO09-241 — Hurricane Ike January 09 — Ebara Costs

e CO09-242 — Hurricane Ike January 09 ~ PTP Costs

e CO09-243 — Hurricane Ike January 09 — Lewco Costs

e CQO09-244 — Hurricane Ike January 09 — TASC Costs

e CO09-245 — Hurricane Ike January 09 — IHI Costs (Tank TEs)

¢ CO09-246 — Hurricane Ike January 09 — IH! Costs (Tank Gauges)

e CO09-247 — Hurricane Ike January 09 - Insulations Inc. Costs

e CO09-248 — Hurricane Ike January 09 ~ Ron Williams Costs

e CO09-249 — Hurricane Ike January 09 — Dredge Line Lease Costs

e¢ CO09-250 — Hurricane Ike January 09 — Thermal Insulations Costs

e COO09-251 — Hurricane Ike February 09 — AIC CM Costs

e CO09-252 — Hurricane Ike February 09 — AIC Costs

¢ CO09-253 — Hurricane Ike February 09 — ASUSI, Chemtex, SUC

Materials and T Baker Smith Costs

CO09-254 — Hurricane Ike February 09 — James Const. Costs

e CO09-255 ~ Hurricane Ike February 09 - CSM, Freight, and AMRI
Costs

e COQ09-256 — Hurricane ike February 09 — Chromolox, Flowserve,
Lewco, Moody Int., MTB and Poyam Costs

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Hurricane ike

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e CO09-257 — Hurricane Ike February 09 — Triad Costs

¢ CO09-258 - — Hurricane Ike February 09 — Decision Strategies Inc. .
Costs

e CO09-259 — Hurricane Ike February 09 — Weeks Marine Costs

¢ CO09-260 — Hurricane Ike February 09 — CED Costs

¢ CO09-261 — Hurricane Ike February 09 — IHI, AK Bowen and AIC
CM (Miscellaneous) Costs

AK|!HI has suffered additional costs from Hurricane Ike for the
mitigation/remediation processes and management of the
mitigation/remediation efforts in the amount of $70,311,400.13. Supporting
information for all of these costs is provided in sections 4 through 10.

The impacts and additional costs described herein are ongoing and will have
long range impacts on the Project. AK(IHI may need to revise the additional
costs based on further events.

1.10. Further, AK|IHI is entitled to be granted extensions of the Guaranteed
Substantial Completion (“GSC”) and Guaranteed Final Completion (“GFC”)
Dates. More specifically, AK|IHI is entitled to:

e An Extension of Time of Two Hundred Forty-Nine (249) calendar days
to the GSC and GFC Dates as follows:

- Guaranteed Substantial Completion Date: February 14, 2010'
- Guaranteed Final Completion Date: August 13, 2010

 

' GSC date includes 59 days of float available to AK|IHI in STO1: TSC (12/17/09) + 59 eds = 2/14/2010

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Hurricane Ike

Force Majeure Impacts

2. Change Order - Basis of Recovery

2.1. Agreement Provisions Force Majeure Events: This request is for
reimbursement of Hurricane Ike added cost impacts. The costs include
estimates for future time periods.

e Hurricane Ike constituted “Abnormally Severe Weather Conditions” and is
therefore considered a Force Majeure event as defined in the Article 2.3 of
the Agreement.

e In accordance with Article 16.2 of the Agreement, a notice [Appendix 3] was
issued by AK|IH! to CLNG on September 16, 2008. AK|IHI subsequently
provided CLNG reasonable evidence of the nature of the Force Majeure
event [Appendix 4] on September 22, 2008, as required by Article 16.2 of
the Agreement, but noted that this was a preliminary assessment of the
impact of Hurricane Ike on the Project.

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Hurricane Ike

Force Majeure Impacts

3. Background Information and Actions Taken

3.1. Pre-Hurricane ike Preparations - The steps taken by AK|IHI to prepare for
Hurricane Ike are summarized as follows:

e On September 8, 2008, Hurricane Ike’s expected path was into the Gulf of
Mexico, with a projected “cone of uncertainty” from Brownsville, Texas to
Mobile, Alabama.

e By September 9, 2008, Hurricane Ike’s expected path had changed to focus
on southeast Texas, with Corpus Christi being in the center of the expected
path. At that time, the primary impact to the Project was that a subcontractor
gave notice of Force Majeure to allow its employees to return to their homes
to prepare for the hurricane.

e On September 10, 2008, additional subcontractors declared Force Majeure to
allow their employees to return to their homes, many of which were in the
Corpus Christi and Houston areas. The threat of the coming hurricane and
the loss of subcontractor labor caused AK{IH] to recommend to CLNG that
the Project be closed at the end of the day.

¢ Later on September 10, 2008, a mandatory evacuation order was issued for
Cameron Parish. AK|IHI, which had already begun securing the Site earlier
in the day to close the Project, continued tying down all materials and
equipment that could be subject to wind damage, covering materials to
protect them from rain and wind damage, securing Site cranes, and meeting
with subcontractors regarding hurricane preparedness in accordance with the
Severe Weather Plan - Document No. CAM-CON-PRO-0017 Rev 1, issued
June 20, 2006 [Appendix 5].

e Reports on September 10, 2008, indicated that a storm surge of up to 6 feet
was predicted for more than a mile inland in Cameron Parish. However, as
the Site was located more than twenty miles inland and was protected by a 9
foot berm, there was little concern that the storm surge would impact the
Project. Therefore, materials were secured at grade level in accordance with
the Severe Weather Plan.

3.2. Effects of Hurricane Ike on the Project — The immediate apparent effects of
Hurricane Ike on the Project Site are summarized as follows:

e After Hurricane Ike made landfall in the early hours of September 13, 2008,
AK|!HI was prevented from accessing the Site by a roadblock put in place by
local government authorities until September 15, 2008.

* As soon as the roadblock was lifted on September 15, 2008, AK{IHI mobilized
to the Project and began draining the approximately three feet of brackish
water that covered the Site. The storm water surge was removed by both
pumping operations and by opening drains on storm water basins on the

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Hurricane Ike

3.3.

Force Majeure Impacts

perimeter of the Site. Brackish water also inundated the temporary off-site
Warehouse/Storage area. Piping, valves and tank sensors had been
submerged in the brackish water storm surge left by Hurricane Ike.

The Site draining was completed on the evening of September 16, 2008.
Beginning on September 17, 2008, AK|IHI initiated clean up operations and
inspection of all materials on-site and in the off-site warehouse located within
two miles of the Site.

Efforts to Mitigate -AKjIHI’s efforts to mitigate the impacts of Hurricane Ike on
the Project are summarized as follows:

Washing down all submerged pipe spools, control valves and manual valves
at the Site and in the off-site warehouse in order to mitigate the impact of the
hurricanes brackish water. More than 700 pipe spools were totally or
partially submerged in the brackish water. The first step in cleaning the
impacted pipe spools was pressure washing their interior and exterior
surfaces in order to remove the brackish water residue. The second phase
involved washing the pipe spools with low chloride well-water. This work
commenced around September 17, 2008.

AK|IHI retained a consulting metallurgist, SJC Materials and Engineering Ltd.,
who inspected the pipe spools impacted by the storm surge on September 24
— 26, 2008. The brackish water that contaminated the piping system was
found to have caused damage, specifically pitting in numerous visible
locations and, given the same conditions affected the non-visible areas of the
piping system, it was believed that the same damage had occurred in the
non-visible piping locations. Based on the metallurgist’s recommendations,
the impacted pipe spools, specifically the cryogenic 304L piping systems,
were acid washed with a citric and phosphoric acid mix in order to remove
any remaining chlorides in the pipe spools. The metallurgist’s report was
provided to CLNG in a letter dated October 17, 2008 [Appendix 6].

Upon completion of the acid washing, all impacted piping spools were
inspected boroscopically. That inspection revealed approximately 27
damaged spools; these spools were removed. However, subsequent testing
revealed damage in spools was not identified through the boroscopic
evaluation. AKjIHI concluded that the impacted pipe spools were not suitable
for service. Therefore, AK|IHI recommended on November 6, 2008, that all
pipe spools that had been submerged in the brackish water be removed and
replaced [Appendix 7]. CLNG agreed with this recommendation and
approved the re-fabrication of the over 700 effected pipe spools. The piping
re-fabrication has been conducted both on-site and in off-site fabrication
shops.

In addition to the piping re-fabrication described above, the cryogenic pipe
support shoes that were submerged in the brackish water were also found to
have been damaged beyond repair and were removed and replaced.

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e More than 750 valves that were impacted by the storm surge were sent back
to the manufacturers for inspection, repair, refurbishment and/or replacement
as needed. These valves included the KSB/Amri valves, Poyam valves,
Flowserve control valves and Petro! check/globe valves. In addition, Rotork
valve actuators were also sent to the manufacturer for inspection, repair and
refurbishment as required.

e The Boil Off Gas (BOG) Compressor cylinders, which were also submerged
in the brackish water of Hurricane Ike’s storm surge, were removed and sent
back to the vendor for inspection, refurbishment and replacement, as needed.
The vendor’s inspection revealed that the 1* stage pistons required
replacement and it is expected that these items will arrive on Site sometime
during the second quarter of 2009.

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Hurricane Ike

Force Majeure Impacts

3.4. Hurricane Ike Remediation/Mitigation Efforts — Additional Costs

Lack of available work - Immediate post-Hurricane Impact: Immediately
following Hurricane Ike, the work force began returning to the Site and pre-lke
piping manpower levels were eventually achieved. However, the piping work
available to the workforce in the weeks immediately following Ike was
drastically different than before Ike. There were significant efforts to clean up
the Site and area in general as well as restore the piping areas so that
installation work could resume. However, due to the severity of the
hurricane, significant quantities of piping had to be cleaned and inspected
due to its immersion in brackish storm surge water. While a portion of the
pipe craft personnel performed this work, the remainder, to mitigate much
larger damages, were asked to perform miscellaneous tasks in an effort to
utilize the existing work force before piping installation work could again
resume at the same level of effort as before Hurricane Ike. Along with this
task re-assignment effort, AK|IHI also reduced the weekly work hours.

e Loss of Experienced Manpower: In the weeks following Hurricane Ike, AK|IHI
suffered a loss in some of the most experienced pipe fitters as the limited
work available on the Site led to reduced working hours per week. The better
craftsmen of the pipe fitters desired more work hours per week (as had been
occurring in the pre-Ike period) and therefore left the Project for more
lucrative offers elsewhere. This was more commonplace among the non-
domestic workers, who generally represent the more skilled piping workers.

¢ Impact of Piping Re-fabrication: Despite AKIIHI’s efforts to clean and wash
the piping that was partially or totally submerged, damaged piping remained a
critical problem. As previously stated, CLNG approved the re-fabrication of
the impacted spools in mid-November. This had the immediate impact of
severely limiting the available pipe installation work. AK|IHI mitigated this
impact as it reduced the workforce and focused on on-site fabrication work
(small bore socket welded pipe) but still suffered additional productivity losses
in the weeks immediately following Hurricane Ike.

e Qut of Sequence Work: AKjIHI’s sequence of work, as occurring immediately
before Hurricane lke and as planned for remainder of the Project, has been
and will be severely modified due to the damage caused by Hurricane Ike.
As noted elsewhere in this document, Hurricane Ike has caused the re-
fabrication of over 700 piping spools totalling over 7,000 linear feet of piping.
The pipe spool fabrication schedule is driven by material availability and
delivered to the site in the same sequence as re-fabricated, not according to
the originally planned installation sequence. This means that where AK|IHI
had planned to install pipe spools sequentially, it now could not and would
now be forced to install piping in non-sequential fashion driven solely by
material availability.

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Another impact from the out of sequence work involves the other trades and
work scopes that are interdependent with the piping installation work. Where
pipe installation was impeded by Hurricane Ike, AK|IH! continued to
prosecute the work in an effort to most productively utilize the other site
trades. This has resulted in advancing the work in and around the pipe racks
as well as equipment throughout the BOP. Consequently, when re-fabricated
pipe spools are now available for installation, the installation locations are
less accessible, creating additional work and effort to install the piping.

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4. Contract Price Adjustment — Hurricane Ike Remediation/Mitigation Efforts —
Additional Costs ~ AK[IHI’s Subcontractors

For purposes of this Change Order, AK|IHI is presenting its added direct costs
related to five (5) impacted subcontractors as represented by the projected loss of
productivity for each from impacts due to Hurricane Ike.

4.1. AIC Mechanical

AIC Mechanical’s direct labor piping costs have been severely impacted by the
Force Majeure events for the reasons outlined in Section 3.0. Since AK{IHI
maintained the tracking measures being used on the project, the post-Ike cost
impacts could be captured. Specifically, AK|IHI tracks man-hours and quantities
installed on an on-going basis and have broken the information into pre- and post-
Ike values. [Appendix 8]

For quantification of the additional cost impacts, a comparative analysis for pre and
post-Ike periods for AIC Mechanical is appropriate and available given the data
being collected on the pipe installation work.

For purposes of determining the added costs post-Ike, AK|IHI has chosen week
ending July 5 through August 31, 2008, as the appropriate pre-Ike period for
comparison. This period of time was chosen since the work being performed and
the productivity being achieved were representative of what was to be expected for
the balance of the remaining work which was interrupted by Hurricane Ike, only to
be resumed in a limited manner afterward as described in sections elsewhere
within this document. For the period following the hurricanes, the weeks from
September 27, 2008 through February 14, 2009, were used. Comparisons were
made by dividing the amount of direct craft pipe fitter hours expended by the
quantity of pipe installed in each period.

The data, as presented in the following tables, demonstrates that piping installation
has been directly impacted by the damage caused by Hurricane Ike.

QTY INSTALLED PER PERIOD
dc) Post-Ike

07/5/08 to 08/31/08 9/27/08 to 2/14/09

 

 

 

 

 

 

 

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Hurricane lke

Force Majeure Impacts

The following table presents the installation both before and after Hurricane Ike. It
is based on the number of direct piping craft man hours required to install a foot of
pipe. It is shown that AKjIHI achieved a rate of 5.36 MHRILF in the immediate pre-
Ike period and 12.74 MHRILF in the post !ke period

PRODUCTIVITY (MHRS/QTY)

Pre-Ike Post-lke
07/5/08 to 08/31/08 9/27/08 to 2/14/09

 

 

MHR/LF MHR/LF
5.36 12.74

 

 

 

 

Based on the actual man-hours incurred for piping installation during these two
periods, the additional costs are the result of the piping work taking more than
double (12.74/5.36) the effort for each foot of pipe installed in the post-Ike period as
shown in the preceding table. This represents that an additional 7.38 piping
installation man hours are required to install piping (excluding supervision) following
Hurricane Ike than in the period immediately preceding.

As of August 31, 2008, AK|IHI forecasted 14,304 lineal feet of remaining piping to
be installed. Considering the additional effort required (7.38 man hours per LF x
14,304 LF), AK|IHI can now expect to expend an additional 105,615 piping
installation man hours to complete the work.

The post Ike direct piping work force is composed of approximately 53% foreign
national workers (third-party) [Appendix 8]. The total hours are therefore built up
as follows:

Domestic workers (105,615 * 47%) = 49,639 man hours
Foreign nationals (105,615 * 53%) = 55,976 man hours

In addition to the direct craft additional costs, there is the same impact to the
indirect support personnel (superintendents, etc.). In the Post-Ike period, AIC
Mechanical had incurred approximately 0.3 indirect support man hours for every
direct craft man hour expended.

Using this ratio, 31,685 additional indirect support craft man-hours will be required
to complete the remaining piping due to the damaged caused by Hurricane Ike. An
additional cost for equipment, scaffolding, facilities and small tools [Appendix 9] is
also applied, in order to calculate the actual amount due for AIC Mechanical.

 

* Equals (105,615) hours X 0.30 indirect/direct ratio = 31,685 additional indirect craft hours

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Description tal eliir 8) Foreign National
Welders
Additional Direct Craft Hours 49,639 55,976
Indirect Support Craft Hours 31,685
Subtotal - Hours 81,324 55,976 [A}
Rate Development
Base Rate (CO06-121, pg.11) $49.19 $57.00
Cost for equipment etc. [Appendix 9] 14.50 14.50
X Total Rate $63.69 $71.50 (B]
Total by Category $5,179,526 $4,002,284.00 [C] = [A] x [B}
Total for AIC Mechanical 9.181810

4.2. Other Subcontractors

Other subcontractors have also been impacted by the damage caused by
Hurricane Ike as well as the resulting need to re-fabricate pipe spools. AK]IHI
generally has lump sum subcontracts with these subcontractors.

An appropriate method for calculating added costs for these subcontractors is to
use factors from the Mechanical Contractors Association of America publication
titled “Change Orders, Productivity, Overtime”. Specifically, page 63 of the
publication lists various factors that can impact labor productivity [Appendix 10]:

Stacking of Trades

Morale and Attitude
Reassignment of Manpower
Crew Size Inefficiency
Concurrent Operations
Dilution of Supervision

Each factor has a range of potential impacts (minor, average, severe). After
reviewing the impacts of Hurricane Ike, the most evident impact to subcontractors
other than AIC Mechanical has been the reassignment of manpower and crew size
inefficiency. AK[IHI and its subcontractors have attempted to mitigate some of
these impacts with smaller crews and shorter work weeks but not all impacts can
be eliminated.

From the MCAA tables, the following impact ranges are presented for these factors

 

 

Factor Minor Average _ Severe
Reassignment of Manpower 5% 15% 30%
Crew Size Inefficiencies 10% 20% 30%

Totals 15% 35% 60%

 

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Based on AK|IHI’s and its subcontractors’ mitigating actions, it would be
appropriate to apply a 25% loss of efficiency factor as reassignment of manpower
was an average impediment and the crew size a minor one. Therefore, this factor
has been used for the major subcontractors listed in the following sections that
have been impacted by Hurricane Ike.

4.2.1. Insulations, Inc.

As a result of the damage caused by Hurricane Ike, and in an effort to mitigate the
damage, AK|IHI’s insulation subcontractor, Insulations, Inc., has had to reduce its
crew size and reassign its manpower as available work fluctuates and the piping is
installed where possible, prior to receipt of the re-fabricated spools.

 

Manhours Source

Forecasted Manhours (mhrs) 204,567 Aug ‘08 Q&M Hours Report - [Appendix 11]
(Less) Actual Manhours (74,174) — Aug '08 Q&M Hours Report - [Appendix 11]

Estimate to Complete - Pre Ike 130,393 [A]

(Times) by Post-Ike PRD Factor 125% 25% loss to crew size inefficiency and reassignment
Total Proj. Mhrs w/Productivity Loss 162,991 [B]

32,598  =[B]- [A]
X Hourly Rate 44.38 — Exhibit 2 of Subcontract - [Appendix 12]
Total for Insulations $ 1,446,710

4.2.2. Triad Electrical and Instrumentation (Triad)

In a manner similar to the insulation subcontractor, AK|IHI’s electrical subcontractor
has also been impacted and has had to modify its work to mitigate Hurricane Ike’s
effects. As Triad generally follows the piping work, it has had to re-sequence its
work, including its planned sequence for completing systems prior to
commissioning. AK{IHI is in receipt of a provisional claim submission dated March
2, 2009 in the amount of $3,018,342.42. AK|IHI is including a 25% additional
allowance against this provisional claim amount for a total of $3,772,928.03
included herein.

4.2.3. Adesta

As a result of the damage caused by Hurricane Ike, and in an effort to mitigate the
damage, Adesta. AK|IHI’s security system subcontractor has been forced to adjust
its crew size performing the fiber optic cable installation as part of the site security
package. As with the other subcontractors, a 25% inefficiency factor is appropriate
in its forecasted work as a result of Hurricane Ike.

Appendix 13 presents Adesta’s proposal rates. Since the productivity will impact

Adesta’s field work, a composite rate can be developed from this proposal as
follows:

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Total Labor Cost Totals Labor Hours Hourly Rate
$208,778.50 / 2,394 = $87.21
Manhours Source
Forecasted Manhours (mhrs) 3,955 See [Appendix 13]
(Less) Actual Manhours (2,875)
Estimate to Complete - Pre Ike 1,080 = ‘[A]
(Times) by Post-Ike PRD Factor 125% 25% loss to crew size inefficiency and reassignment
Total Proj. Mhrs w/Productivity Loss 1,350 [B}
270 = = [B}- [A]
X Hourly Rate $ 87.21 See calculation above
Total for Adesta $ 23,547

4.2.4. Thermal Insulation

As a result of the damage caused by Hurricane Ike, and in an effort to mitigate the
damage, Thermal Insulation (“Thermal’, f/k/a Brock), AK]IHI’s tank insulation
subcontractor, has been impacted by Hurricane Ike as the insulation blanket
material was damaged during the hurricane. Thermal has had to revise its work
plan to complete the insulation blanket material based on re-ordering the damaged
material, in a manner similar to the piping installation work and re-fabricated pipe

spools.

Appendix 14 presents Thermal’s subcontract labor rate for installation work and an
invoice with labor rates for a crane operator and rigger. The crew mix and
composite rate for Thermal is:

Thermal insulation

Crew Mix 25 Insulators $ 32.83 per hour $ 820.75
4 Rigger $ 78.75 per hour $ 78.75

1 crane operator $ 110.25 per hour $ 110.25

27 Crew Total $ 1,009.75

Composite Rate $ 37.40

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Change Order Number CO09-262 AK|IHI - Cameron LNG Project
Hurricane lke

Force Majeure Impacts

 

Manhours Source
Forecasted Manhours (mhrs) 39,417 Aug '08 Q&M Hours Report - [Appendix 11]
(Less) Actual Manhours (7,490) Aug ‘08 Q&M Hours Report - [Appendix 11]
Estimate to Complete - Pre Ike 31,927 [A]
(Times) by Post-Ike PRD Factor 125% 25% loss to crew size inefficiency and reassignment
Total Proj. Mhrs w/Productivity Loss 39,909 [B}

7,982 =[B]- [A]
X Hourly Rate $ 37.40 See explanation above
Total for Thermal Insulations $ 298,517.45

5. The Encumbrance of the Project’s Schedule Due to the Additional Work

Necessary to Replace, Repair or Make Good the Damage Caused by Hurricane
Ike: Mitigation/Remediation Process and Management of the Process

In performing its analysis of the Hurricane Ike mitigation/remediation process and
management of the process, AKjIH! used schedule CAM1 with data date 24
August, 2008 (“CAM1”), as the Project Pre-Ike as-planned schedule. It is important
to note that this CAM1 schedule does not include six (6) calendar days of
Hurricane Gustav impacts that are the subject of a separate document. CAM1
most accurately reflected AK[IHI’s plan to complete the Work before Hurricane Ike
impacted the Project.

In CAM1 (with consideration for Hurricane Gustav impacts), AK|IHI planned to
achieve Project Target Substantial Completion (“TSC”) on April 12, 2009. All
impacts noted in this document are measured against this TSC date in calendar
days.

In order to quantify the current impacts to the Project resulting from the damage
caused by Hurricane Ike, the post-Hurricane Ike critical path was analyzed from the
most current Project schedule (“Post-Ike Schedule). The critical path in the Post-
Ike Schedule is driven by the damage directly caused by Hurricane [ke which is
demonstrated by the following graphic:

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Change Order Number CO09-262 AKjIHI —- Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

Pre-Ike vs. Post-lke Critical Path Comparison

  
 
 
  

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JfALS[O[N[ DJ JT FIM] A[M] JT UAT STOTNID

 

 

" * All figures represented in calendar days

 
 

Test SO Piping
ly for Cool ‘Down

   

Pre-Hurricane Ike

cure, Refabricate & Deliver ike-damaged Tank Temperature Sensors

i 18 Days Ike: Additional Pre-RFC Commissioning
"

 

 

 

‘14714 ‘Install East SCV Pipe to Area 313 Process Rack D

 

9/10 > Mandatory:‘Evacuation Order for tke 1!

9/10

9/11 f] 9/12 Site Evacuated Pre-Ike Landfall:

 

 

9/12 fH 9/13 Ike Landfall #800. "

 

9/13 [9/14 Site Inaccessible Post-Ike Landfal
9/15 Road Block Removed & Limited Site Access Restored

9/15 99/16 Site Pumping ; Ff

  
   
  

917

 

9/22

 

9/22

‘CLNG Approval to Refabricate lke-damaged Pipe Spools

ff 7/24 Reprocure, Refabricate, install & Test Ike-damaged
«- Pipe Spools

 

9/14 Ready for Cool Down
12/17 Commissioning

 

7/26

12/17 Target Substantial Completion
Hurricane Ike (Revised Mitigation
/Remediation Process)

 

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164 Days: Reprdcure, Refabricate, Install & Test Ike-damaged Pipe Spools

1 Day Ike: Additional Post-RFC Commissioning

Hurricane Ike Additional Work i

 

urricane tke {Initial
Disruption)

Hurricane Ike (initial
Mitigation /Remediation Process)

 

 

Note: 14 September 2009 represents a P90 Ready for Cool Down date
 

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Change Order Number CO09-262 AKjIHI - Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

The CAM1 schedule showed that the Tanks and the Balance of Plant (BOP) were
critical or near critical. The analysis of the Post-Ike Schedule that follows describes
the result of the damage caused by Hurricane Ike on the Project schedule.

5.1. Initial Disruption: September 10 through September 21, 2008 (12 days)

Initial Disruption: 10 September 2008 through 21 September 2008 - The Hurricane
Ike preparation effort resulted in a one (1) day impact to the critical path as AK|IHI
prepared the site on September 10 for evacuation. The evacuation occurred at the
end of the day and the site was inaccessible for four (4) days thereafter. After
returning to the site, AK|IHI required seven (7) days to clean the site and

commence work as at least some work resumed on 22 September 2008. These
efforts had a day for day impact on the critical path, as well as all other Work on
the Project.

The CAM1 critical path ran through “Install East SCV Pipe to Area 313 Process
Rack D”. Since the Project was shut down, all activities in the schedule were
impacted during this period. Therefore, while the critical path still ran through
“Install East SCV Pipe to Area 313 Process Rack D” after Hurricane Ike, twelve
(12) calendar days were added to the TSC during this period.

5.2. Initial Recovery: September 22 through November 17, 2008 (57 days)

Based on AK|IHI's initial evaluation of the damage caused by Hurricane Ike, the
initial plan for recovery indicated that the longest path to Project completion was
driven by the requirement to replace the tank temperature sensors that were
damaged by Hurricane Ike. The initial recovery plan for the replacement
temperature sensors, scheduled for January 4, 2009, showed that after the
sensors were onsite, finishing the balance of the tank construction was critical to
Project completion.

While replacement of the tank temperature sensors initially appeared to be the
major impact of the damage caused by Hurricane Ike, the Project subsequently
incurred additional impact that was not anticipated when the initial recovery plan
was undertaken. Therefore the initial recovery plan extends from 22 September
2008 to 17 November 2008.

Based on the impact of the initial recovery plan, the additional work resulting from
the damage caused by Hurricane Ike would have required 57 calendar days to
complete.

5.3. Revised Recovery Plan: November 18 through Revised TSC (179 days)

In early November 2008, AK|IHI discovered pitting in pipe spools that caused a
concern regarding whether the spools inundated by the brackish water deposited
on the Site by Hurricane Ike (“Ike Spools”), which were previously believed to be
acceptable for use because of the mitigation efforts undertaken by AK|IHI, were in
fact irreparably damaged by Hurricane {ke and, therefore, needed to be replaced.

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

Based on evaluation and recommendation of a metallurgist, AK|IH] had undertaken
a mitigation procedure that was expected to make the Ike Spools satisfactory for
use in the construction.

The process that AK|IHI undertook, based on the metallurgist’s recommendation
included additional flushing of the spools and pickling with a mild acid solution. It
was thought that this process would mitigate the damage caused by Hurricane Ike.
Subsequent to the wash and pickling process, the Ike Spools were examined using
a boroscope; the damage to the Ike Spools caused by Hurricane Ike was thought
to be remediated and the Ike Spools were thought to be acceptable for use.
However, in early November 2008 and during erection of the first Ike Spool to be
put into place, an x-ray inspection of the pipe welding revealed damage (pitting)
unobservable via boroscope. The x-ray revealed damage that was deep enough
that it could potentially result in a catastrophic failure during operation of the plant.

After considering several options, on 6 November 2008, AK|IHI advised CLNG that
it could not assure that the damage to the Ike Spools caused by Hurricane Ike was
sufficiently remediated. AK|IHI recommended that the original Ike Spools be
replaced. On 18 November 2008, CLNG agreed and authorized AK|IHI to proceed
with refabrication of the Ike Spools.

As soon as CLNG approved the re-fabrication of the spools, AK|IH! revised the
recovery plan to include the time required for the refabrication process and added
erection and testing work. When the refabrication process and added erection and
testing work were included in the schedule, the critical path shifted from the tank
construction that was driven by the replacement of the temperature sensors to the
pipe spool refabrication, erection and testing in Area 311 of the BOP. As shown in
the table below, the revised recovery plan adds another one hundred sixty-four
(164) calendar days to the schedule.

Hurricane Ike (commissioning impact) — At the time that the revised recovery plan
was introduced into the schedule, AK|IH! recognized that remediation of the
damage caused by Hurricane Ike would impact the pre Ready for Cool Down
(“RFC”) commissioning plan through the introduction of new activities and
associated re-sequencing of the work. As shown in the table below, this additional
commissioning scope has resulting in needing an additional fifteen (16) calendar
days (15 days pre-RFC and 1 day post-RFC) beyond the anticipated Pre-Ike work

plan.

5.4. Summary of Impact to the Project Schedule Resulting from the Damage
Caused by Hurricane Ike

The additional work required to repair, replace or make good the property damaged

as a result of Hurricane Ike is two hundred forty-nine (249) calendar days. The
following table summarizes the components of the recovery efforts:

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Change Order Number CO09-262 AK(IHI —- Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cameron LNG Project
Hurricane Ike - Mitigation/Remediation Process and Management of Process
Schedule Change Summar

Ike: Hurricane Preparations -4
tke: Site Evacuated /inaccesibie ~4
Ske:_Site Remobilization & Clean-up -7
Ike: Assess ike Damage to Tank Temperature Sensors & Prepare Action Plan -6
Ike: Prepare & Issue PO to Refabricate Ike-damaged Tank Temperature Sensors 4
Ike: Refabricate & Deliver Ike-damaged Tank Temperature Sensors -47
Ike: Reprocure, Refabricate, install & Test Ike-damaged Pipe Spools -164
Ike: Additional Pre-RFC Commissioning -16
Ike: Additional Post-RFC Commissioning -1
Total -249

 

 

 

* All figures represented in calendar days

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Change Order Number CO09-262  ~ AK|IHI - Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

6. Contract Price Adjustment: Hurricane Ike Remediation/Mitigation Efforts —
Additional Costs — AK|IHI

AK|IHI has incurred additional costs resulting from the need to repair, replace or
make good the damage caused by Hurricane Ike [Appendix 15]. The site costs
for this additional effort is calculated by multiplying the daily AK|IHI site running
cost by the 249 calendar day impact as follows:

TO TO CHANGE DAILY SITE
DATE AUGUST [DATE MARCH MARCH RUNNING
Ike Recovery 2008 2008 2008 COST

90 . 495,620 58 118.
1 1,094. .84

$3,307,017. 964, 013, 13,480.

797.

 

 

|Ike Recovery for 249 calendar day impact @ $85,596.75 $21,313,590.79

 

The impacts described in this document are ongoing and will have a long range
impact on the Project. AK|IHI may need to revise the additional costs, in light of
subsequent events.

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Change Order Number CO09-262 AK|IHI ~ Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

7. MVendor repair and Replacement Costs

The following vendors included in this Change Order have charged or notified AK|IHI
of costs arising as a direct result of the damage caused by Hurricane Ike. The
details of these costs are included in Appendix 16. Below is a summary of the work
performed and services provided by these vendors.

7.1 Sump Pumps - All Pump and Equipment

Following inspection and assessment, three (3) sump pumps found totally
submerged in brackish water deposited on the Project site by Hurricane
Ike were sent to All Pump and Equipment for disassembly, cleaning,
inspection and reassembly.

7.2 Insulation Blankets — ANCO Products Inc

ANCO Products Inc. replaced 405 rolls of resilient fiberglass blanket that
were stored in the warehouse and damaged by Hurricane Ike’s storm
surge.

7.3 Dredge Line Lease — Barbe
7.3.1 Scofield, Gerard, Singletary and Pohorelsky
The Hurricane Ike storm surge deposited silt in the marine basin, severly
disrupting the dredging work. AK|IHI has incurred legal fees associated
with the associated increased lease costs for the dredge line.
7.3.2 Louie Barbe
Additional dredging of the marine basin due to the Hurricane Ike storm
surge, has resulted in increased lease costs from Louie Barbe, for the
dredge line.

7.4 BOG Compressor Pistons - Burckhardt Compression
The BOG compressor pistons, which were stored at the off-site
warehouses, were submerged in the brackish water deposited at the
warehouses by Hurricane Ike. Burckhardt Compression replaced three
(3) piston crowns (upper), three (3) piston skirts, and three (3) piston
crowns (lower).

7.5 Heaters — Chromalox Inc
Heaters were stored at the warehouse and subjected to Hurricane Ike’s

storm surge. AKJIHI returned Eight (8) damaged “in tank” heaters and
one (1) damaged control panel to Chromalox Inc. for repair or

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Change Order Number CO09-262 AK|IHI ~- Cameron LNG Project
Hurricane ike

Force Majeure Impacts

replacement as necessary, and incurred freight charges in connection
therewith.

7.6 Gas Detectors and Monitors - Detector Electronics Corporation

Detector Electronics Corp. carried out inspection, repair and testing of
electronic detector equipment that was stored at the off-site warehouses
and damaged by Hurricane Ike and its associated storm surge.

7.7 Control Valves — Flowserve

Flowserve inspected and assessed twenty-one (21 ) control valves, stored
on site awaiting installation at the time of Hurricane Ike. The valves were
totally or partially submerged in the brackish water deposited on the
Project site by Hurricane Ike. AK|IHI returned the damaged vaives for
repair or refurbishment as necessary and incurred freight charges in
connection therewith.

7.8 Glass Cloth (Nozzle Insulation) - Lewco Speciality Products Costs

Lewco replaced 75 rolls of glass cloth with aluminum foil backing that
were stored at the project warehouse and damaged by Hurricane Ike’s
storm surge. AK|IHI incurred freight costs for the shipment of the
replacement materials.

7.9 Check/Globe Gate Valves — Petrol Valves USA

Petrol Valves USA carried out inspection and assessment of 114 valves
that had been either installed in pipe spools or were stored in the
warehouse and were totaily or partially submerged in the brackish water
deposited on the Project site by Hurricane Ike. The valves were returned
to Petrol Valves for repair/refurbishment and returned to the Project site.

7.10 SCV Spare Sump Pump — (CED) Selas

The spare sump pump for the SCV was stored at the off-site warehouse
and was damaged by Hurricane Ike and its associated storm surge. The
pump was examined and found undamaged but Selas provided a
replacement motor.

7.11 Butterfly Valves — Amri

Amri carried out inspection and assessment of Butterfly Valves welded
into pipe spools that were totally or partially submerged in brackish water
deposited on the site by Hurricane Ike. Amri refurbished the valves
located at the warehouse as necessary, including replacing seats, seals
and packing.

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project
Hurricane lke

Force Majeure Impacts

7.12 Replacement Cable Tray and Electrical Fixtures - Consolidated Electrical
Distributions Inc.

The cable tray and electrical fixtures were stored at the off-site
warehouse and damaged by Hurricane Ike and its associated storm
surge. Consolidated Electrical Distributions Inc. provided replacement
cable tray and electrical fixtures.

7.13 In Tank Pumps — EBARA

Ebara carried out inspection and assessment of parts for In Tank pumps
that were in storage at the warehouse following the partial submersion of
the pumps in brackish water deposited on the Project site and at the
warehouse by Hurricane Ike. EBARA provided a report on the required
corrective actions to address the damage caused by Hurricane Ike and
assisted with the cleaning and return of equipment for repair/replacement
where necessary.

7.14 Tank Gauges — Enraf
The Tank Gauges were stored at the offsite project warehouse and were
damaged when they were totally or partially submerged in the brackish

water deposited by Hurricane Ike. The gauges required complete
replacement.

7.15 Testing and Damage Assessment — MTB Quality Consultants

MTB Quality Consultants provided inspection/testing services for the pipe
spools re-fabricated as a result of the damage caused by Hurricane Ike.

7.16 3" Party Testing - NDE Technical Services

NDE Technical Services provided inspection/coordination services for
repairs carried out on the valves returned to Poyam in Spain for repair.

7.17 Tank Temperature Elements (TE’s) - Okazaki
The Tank TE’s were stored at the offsite project warehouse and were
damaged when they were totally or partially submerged in the brackish
water deposited by Hurricane Ike. The TE’s were returned to IHI in Japan
for repair and then returned to the Project Site.

7.18 Ball Valves - Poyam
Poyam carried out onsite inspection and assessment of approx 418

valves already installed in the pipe spools and 165 valves stored in the
warehouse that were totally or partially submerged in brackish water

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

deposited on the site by Hurricane Ike. The valves were packed and
returned to Poyam in Spain for repair and testing.

7.19 Cryo Shoes — Piping Technology Products

Piping Technology Products carried out inspection and assessment of
Cryo shoes, which were stored on site and awaiting installation when the
impact of Hurricane Ike resulted in their partial submersion in brackish
water. Piping Technology Products provided a report on required
corrective action to address the damage.

7.20 Pipe Spools ~ RamFab
Pipe spools were stored on-site and awaiting installation when the impact
of Hurricane Ike resulted in their partial submersion in brackish water.

RamFab carried out re-fabrication, painting and testing of replacement
pipe spools.

7.21 Testing and Damage Assessment - Team Industrial Services
Team Industrial Services provided testing and damage assessment of the
pipe spools located on-site and partially or totally submerged in the
brackish water deposited by Hurricane Ike.

7.22 Freight, Duties and Handling Fees — Various

Various entities incurred freight, duties and handling fees associated with
returning equipment damaged by Hurricane !ke to vendors for repair and

testing.

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

8. Subcontract Repair Costs

The following subcontractors included in this Change Order have charged or are
expected to charge AKjIHI costs arising as a direct result of Hurricane Ike. The
detail of these costs are included in Appendix 16. Below is a summary of the work
performed and services provided by these subcontractors.

8.1 Rip Rap/Stone — James Construction

Hurricane Ike and its associated storm surge caused damage to rip rap
and stone in the marine basin. James Construction replaced the material
that was damaged or washed away. In addition to these materials, James
Construction provided equipment and operators to remove debris
deposited by Hurricane Ike.

8.2 Fire Protection System - VFP Fire Systems

Hurricane Ike and its associated storm surge damaged the Project's fire
protection system. VFP Fire Systems provided labor and material for
clean up and damage assessment and removed and replaced damaged
material and equipment.

8.3 Security System ~ Adesta

Hurricane Ike and its associated storm surge damaged the Project's
security system. Adesta provided labor and material for clean up and
damage assessment and removed and replaced damaged material and
equipment.

8.4 Security Fence — American Fence
Hurricane Ike and its associated storm surge carried debris that caused
damage to the permanent perimeter fencing that had already been
installed. American Fence removed and disposed of the damaged fencing
and installed a new fence and fence components.

8.5 Insulation and Cleanup - Thermal Insulations Inc
Thermal Insulations Inc. inspected insulation stored in the warehouse,
disposed of the wet insulation and replaced it with new insulation.

Thermal Insulations Inc. also provided general clean up assistance of the
warehouse.

8.6 Analyze/Revise Project Plans — Decision Strategies

Hurricane !ke and its associated storm surge directly caused severe
damage to the project. In order to mitigate the damage caused by

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Change Order Number CO09-262 AK|IHI - Cameron LNG Project
Hurricane lke

Force Majeure Impacts

Hurricane Ike, AK|IHI retained Decision Strategies to analyze and revise
project plans, and in particular the plans with respect to the timeframe for
acceptance of LNG cargoes.

8.7 Site Clean Up - Insulations Inc.

Insulations inc. have charged or notified AK|IHI of costs arising as a direct
result the damage caused by Hurricane Ike. Insulations Inc. provided
equipment and labor to assist in the clean up and removal of debris,
deposited in the concrete troughs leading to the impoundment basin.

8.8 Dredging — Weeks

Hurricane !ke and its associated storm surge damaged the Project's
marine basin by depositing additional materials, resulting in the need

for an additional maintenance dredging to bring the Project and the work
back to the pre-ike condition.

8.9 Sendout Structure Siding and Roofing - CSM

Hurricane Ike and its associated storm Surge caused damage to
permanent siding and roofing that had already been installed on the
Sendout Store. CSM removed and disposed of the damaged material
and installed new material.

8.10 Removal, Reinstallation, Cleanup and Management Services ~ AIC
Mechanical

AIC Mechanical! provided construction management and labor directly
related to Hurricane Ike, including, but not limited to, the following:

e Clean up of the Project site and warehouse;

e Assessment and repair of damage caused by Hurricane Ike:

* Removal of vendor components for inspection, repair, refurbishment
or replacement:

* Re-installation of repaired, refurbished or replaced vendor
components;

¢ Cleaning of pipe spools totally or partially submerged in the brackish
water deposited on the site by Hurricane Ike (e.g., pre-wash with
water to mitigate the effects of the brackish storm water).

8.11. Sample Probes - Technical Automation Services Corp. (TASC) Costs
Two Sample Probes were damaged when they were totally or partially
submerged in the brackish water deposited on the Project Site by

Hurricane lke. The Sample Probes were returned to TASC for
repair/refurbishment and then returned to the Project Site.

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Change Order Number CO09-262 AK|IHI - Cameron LNG Project
Hurricane Ike

Force Majeure Impacts

9. Damage Assessment and Remediation/Inspection/Testing Costs

The following subcontractors and vendors included in this Change Order have
charged or are expected to charge AK|IHI costs arising as a direct result of
Hurricane Ike. The detail of these costs are included in Appendix 16. Below is a
summary of the work performed and services provided by these subcontractors.

 

9.1 Lab Testing ~ Chemtex

Chemtex provided labor and equipment to carry out lab tests on the storm
water and spool samples, following Hurricane Ike’s storm surge.

9.2 Sewer Cleaning - Hydrochem ind.

Hydrochem Ind. provided labor and equipment to carry out sewer
cleaning following Hurricane !ke’s storm surge.

9.3 Evaluation and Management — Moody International

Moody International conducted inspections of the cryogenic valves to
assess damage caused by Hurricane Ike.

9.4 Hydrotest Well Pump Rental — Andrews and Foster

Andrews and Foster provided a rental pump to assist in the cleaning of
the pipe spools.

9.5 Testing and Damage Assessment - Quality Contract Services Inc.
Quality Contract Services providing testing and damage assessment of
the pipe spools located on site and partially or totally submerged in the
brackish water deposited on the project site by Hurricane Ike.

9.6 Piping Material Inspection — SJC Materials

SJC provided a metallurgist inspection and report on the process piping
system and equipment to ascertain damages caused by Hurricane Ike.

9.7 Marine Survey — T. Baker Smith
Hurricane Ike and its associated storm surge damaged the project's
marine basin by depositing additional materials, resulting in the need for

additional marine surveys to be performed in order to evaluate and repair
the damage.

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Change Order Number CO09-262 AKIIHI —- Cameron LNG Project
Hurricane Ike
Force Majeure Impacts

9.8 Testing Costs — Bodycote Testing Group

Bodycote Testing Group provided labor and equipment to carry out
metallographic testing of Cryo Shoes for damage, after the Cryo Shoes
were submerged in brackish water on site.

9.9 Acid Wash Pipe — PSC Reduction Technologies Group
PSC provided labor equipment and chemicals to treat stainless steel pipe
that was damaged by the brackish water deposited by Hurricane Ike.

PSC also provided disposal service for waste materials arising from the
chemical clean.

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Change Order Number CO09-262 AK|IHI — Cameron LNG Project

Hurricane lke

Force Majeure impacts

10. Securing the site for Hurricane Ike, Evacuation of the site, and clean up and
Remobilization of the Site.

The following subcontractors included in this Change Order have charged or are
expected to charge Ak|IHI costs arising as a direct result of Hurricane Ike. The
detail of these costs are included in Appendix 16. Below is a summary of the work
performed and services provided by these subcontractors.

10.1

10.2

10.3

10.4

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Electrical and Instrumentation — Triad

Triad cleaned and re-tested PSV Valves and cleaned and inspected
electrical systems, instrumentation and equipment that were located on-
site and at the warehouse. Triad also removed vendor components for
inspection, repair, refurbishment or replacement.

Commissioning - Triad

As a direct result of the impact of Hurricane Ike, Triad have incurred
additional commissioning support costs.

Equipment and Operators - Ron Williams Construction Inc.

Ron Williams Construction Inc. provided equipment and operators to
remove debris deposited on the Project site by Hurricane Ike.

Miscellaneous Construction Costs
AIC CM incurred additional costs for pump rental and associated pipe

used to clean-up damage to the Project caused by Hurricane Ike and its
associated storm surge.

March 5, 2009
 

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Change Order Number CO09-262 AKiIHI - Cameron LNG Project
Hurricane Ike

Force Majeure impacts

11. Conclusion

 

 

 

 

 

CO09-262 Summary
Section Description Amount
4 Contract Price Adjustment — Hurricane Ike
Remediation/Mitigation Efforts — Additional Costs — AKjIHI’s
Subcontractors
4.1 |AIC Mechanical $ 9,181,810.00
4.2.1]Insulations inc $ 1,446,710.00
4.2.2|Triad Electrical and Instrumentation $ 3,772,928.03
4.2.3|Adesta $ 23,547.00
4.2.4|Thermal Insulation $ 298,517.45
6 Contract Price Adjustment - Hurricane Ike
Remediation/Mitigation Efforts — Additional Costs — AK\IHI $ 21,313,590.75
7 Vendor Repair and Replacement Costs $ 5,030,495.34
8 Subcontract Repair Costs $ 7,891,584.71
9 Damage Assessment and Remediation/Inspection/Testing Costs $ 530,732.97
10 Securing the site for Hurricane Ike, Evacuation of the site, and clean up
and Remobilization of the Site. $  1,345,765.53
Sub Total} $ 50,835,681.78
Contingency 30% $ 15,250,704.53
AK]IH| Markup 12% on third-party only $ 4,225,013.82
TOTAL | $ 70,311,400.13

 

 

 

 

 

Credit adjustments shall be made to this change order in respect of insurance
payments actually made against costs detailed herein.

AKjIHi hereby requests a Change Order that grants:
e An increase in the Contract Price by $70,311,400.13
¢ An Extension of Time of Two Hundred Forty-Nine (249) calendar days
to the GSC and GFC Dates as follows:

- Guaranteed Substantial Completion Date: February 14, 2010°
~ Guaranteed Final Completion Date: August 13, 2010

 

> GSC date includes 59 days of float available to AK{IHI in STO1: TSC (12/17/09) + 59 cds = 2/14/2010

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